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          DISTRICT COURT,JEFFERSON COIJNTY,STATE                            Filing Datc: -U.y 12 20ll 2:32PY
          OF COLORADO                                                       Filing ID:37557303
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          Court Addrcss: 100 Jcfferson County Parkway
                            Goldcn,Colorado 80401
          Phone Number(303)271‑6145

          PlaintifF(s):
          GEORGE MAGNANI

                                                                            ▲ COURT       USE ONLY▲
          Defendant(s):
          MARIE DALTON
                                                                        Case No.:
          Attorneys for Plaintiff:
          Murray Ogbom, Atty. Reg. No. 14508
          Nicole M. Quintana, Atty. Reg. No. 42675
          OGBORN, SUMMERLIN & OGBORN, LLC
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                                                    COMPLAINT

       Plaintiff, George Magnani ("Magnani" or "Plaintiff'), for his Complaint against Defendant
      Marie Dalton ("Defendant") states and alleges as follows:

                                         PARTIES AND JURISDICTION

      1         Plaintif( at all times material to this Complaint, was a resident of the State of Califomia.

      2         Defendant Dalton is an individual who, at all times relevant to this complaint, resided at
                927 Cole Street, Golden, Colorado 80401, and is married to Richard D. Dalton, who was
                allegedly engaged in the business ofinvestment management and the purchase and resale
                ofprecious stones.

      3         Jurisdiction and venue are proper in Jefferson County District Court pusuant to C.R.C.P.
                98, and the amount in controversy exceeds $15,000.00.




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      4      Simplified Procedure under c.R.c.p. 16. l does not appry to this case
                                                                                   because praintiff is
             seeking a monelary judgment in excess of$100,000.00 against
                                                                            Defendant, including any
             attomey fees, penalties or punitive damages, but excluding interest and
                                                                                        costs.

                                        GENERAL ALLEGATIONS

            Defendant' at all times rerevant to this complaint, was married to Richard
                                                                                          D. Dalton.

      6     Mr. Dalton has been engaging in a ponzi scheme wherein he deceived individuals
                                                                                           into
            investing large amounts ofpersonal money in his purported diamond importing
                                                                                        business.
            Mr. Magnani was one ofthose investors.

      7.    Mr. Magnani invested one hundred thousand dollars ($100,000) with Universal
                                                                                          consulting
            Resources, LLC C'UCR), Mr. Dalton,s sham./shelI company through
                                                                                which he conducted"
            his Ponzi scheme busiaess, based on the promise of investment retums
                                                                                 in the amount ofat
            least twenty percent (20%) each month from the purchase and sale
                                                                                of diamonds.

      8.    In tight ofthe purported investment scheme, Mr. Dalton was acting as a broker
                                                                                            dealer,
            pursuant to Section 3(a)(4) and (5) of the federal Exchange Act,
                                                                             and as such, he owed. a
            fiduciary duty to those individuals that invested money in'the business.

     9.     To date, Plaintiffhas received no return on his investrnent, as promised,
                                                                                        nor has he
            received a refund ofhis investrnent.

      10    In June 2009, the Defendant purchased a home locared at 927 cole Street
                                                                                    in Golden,
            Colorado for the amount of$936,000.00 in cash. The home was titled solelv in
            Defendant's name

      11.   An investigation by the u.s. Securities & Exchange commission ("SEC,,)
                                                                                    shows that Mr.
            Dalton's shell company, UCR, transfened more than $1.2 milrion in investors'
                                                                                         funds to
            Arcanum Equity Fund. An Arcanum company then transferred $910,356.44
                                                                                      to Guardian
            Title Agency, LLC for the purchase of thai property at 927 Cole Street.
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            Based on that information, Mr. Dalton fraudulently transfered, for the
                                                                                   benefit of
            Defendant and the purchase ofthe home, money that was purportedly to be
                                                                                       invested in Mr.
            Dalton's import business.

     l3     upon information and belief, Defendant knew that such transfer ofmoney was
                                                                                       improper,
            that it was done to defraud creditors and investors.
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       14.    Defendant provided no consideration in exchange for the transfer of money to purchase
                                                                                                         the
              home.

       15     In the least, Defendant was aware of Mr. Dalton's fiduciary duties to his investors
                                                                                                  and was
              aware that the funds for the home were coming from the investors' investment
                                                                                              monies.

       16    In addition to the funds received for the purchase of the property, Defendant's living
             expenses have been subsidized by cash distributions andother wrongful
                                                                                       allocations-of
             investor money by Mr. Dalton for personal use by Defendant and Mr. Dalton.


                                          FIRST CLAIM FOR RELIEF
                                               (Civil Conspiracy)

      17.    Plaintiffincorporates by reference the allegations contained in paragraphs 1 through
                                                                                                      16 as
             if fully set forrh herein.

      18.    Defendant and Mr. Dalton had a meeting of the minds to permanently deprive investors,
             including Plaintiff, of their money.

      19,    Such deprivation was intended to be and, in fact, was accomplished by improper,
                                                                                               illegal
             transfers of money from Mr. Dalton's shell company to or for the benlfit
                                                                                      of rjerenaait,
             namely for the purchase of the house at 927 Cole Street solely in Defendant,s
                                                                                           name and
             cash disbursements to use for her and her family's benefit.

      20.    As a direct and proximate result of Defendant's unlawful overt acts and conspiracy
                                                                                                 with
             Mr. Dalton, Plaintiff suffered injuries, damages, and losses in amounts to be proven at
             trial.

                                       SECOND CLAIM FOR RELIEF
                                   (Civil Theft pursuant to C.R.S. $ lg_4_405)

      21.    Plaintiff incorporates by reference the allegations contained in paragraphs I through
                                                                                                   20 as
             if fully set forth herein.

      22.    Upon information and belief, Mr. Dalton stole Plaintiff s investment monies
                                                                                          and
             transferred those and other investor funds to Defendant for purposes other than
                                                                                             those
             stated in the Agreement between Mr. Magnani and UCR/Mr. Dalton.

     23.     On information and belief, Defendant had no intent of returning such funds to plaintiff,
             nor did she provide any consideration for such monies given her by Mr. Dalton.




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       24' The actions of Defendant and her receipt of those monies amount to civil theft pursuant to
            C.R. S. $ 1 8-4-405 and have caused Plaintiff to suffer damages and losses for
                                                                                             which he is
            entitled to treble damages, attomeys fees, and costs.

                                          THIRD CLAIM FOR RELIEF
                                                 (Conversion)

      25- Plaintiff incorporates by reference the allegations contained in paragraphs I through 24 as if
            fully set forth herein.

      26.   Defendant exercised dominion and ownership over Plaintiff s invested
                                                                                       funds without his
            consent and used the money as a cash payment for a house rather than for its intended
                                                                                                  purpose
            as an investrnent in a diamond business.


      27.   Defendant used the money to purchase a house, as well as for other benefits to
                                                                                           her and her
            family, and therefore, she cannot return plaintiff s property to him.
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            As a direct and proximate result of Defendant's conversion of property, plaintiff
                                                                                              suffered
            injuries, damages, and losses in amounts to be proven at trial.



                                         T.OURTH CLAIM FOR RELIEF
                                              (Unjust Enrichment)

     29. Plaintiff incorporates by reference the allegations contained in paragraphs I through 2g as
            if fully set forth herein.

     30.    Defendant received the benefit of investment funds in the form of cash disbursements.
      ●０




            Defendant appreciated the benefit of that investment money, as reflected in the purchase
                                                                                                        of
            the home that rests in her name, as well as cash disbursements she used for her and
                                                                                                  her
            family's benefit.

     32.    The benefit of investment funds was accepted by Defendant under such circumstances that
            it would be inequitable for it to be retained without payment of its value.
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            As a direct and proximate result of Defendant's unjust enrichment, plaintiff suffered
            injuries, damages, and losses in amounts to be proven at trial.
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                                          FIF-IH CLAIM FOR RELIEF
                                   (Aiding and Abetting Breach of Fiduciary Duty)

      34. Plaintiff incorporates by reference the allegations contained in paragraphs I through 33 as
              if fully set forth herein.

     35. Defendant aided and abetted Mr. Dalton in the wrongful act of taking investment funds,
              which caused injury to Plaintiff.

     36. On information and belief, Defendant was generally aware of her role as part of an overall
              illegal or tortious activity at the time she provided the assistance.

     37   .   Defendant knowingly and substantially assisted Mr. Dalton in his breach of fiduciary duty
              by making alrangements to purchase a home in her name only through the transfer of
              funds from Mr. Dalton's business to the title company on Defendant's behalf, as well as by
              accepting cash disbursements to be used for her and her family's benefit.

     38. Defendant was aware of Mr. Dalton's status as a fiduciary to the investors and was aware
              that the transfer and disbursement of investment funds contravened his fiduciary duty to
              investors, including Plaintiff.

     39. As a direct and proximate result of Defendant's actions, Plaintiff suffered injuries, losses,
              and damages in amounts to be proven at trial.

          WHEREFORE, PlaintiffGeorge Magnani requests this Court enterjudgment against
     Defendant Marie Dalton for the following:

                  (a) actual damages;
                  (b) treble damages as permitted by law;
                  (c) pre-judgment interest;
                  (d) aftomey fees as permitted by law or contract;
                  (e) costs; and
                 (f) such other relief as the Court deems just and proper.
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          Respectfully submitted this 12,h day of May, 20I l.

                                                   OGBORN,SUMMERLIN&OGBORN,LLC

                                                   /s/Nicolc M.Quintana

                                                   Murray Ogbom,Atty Reg,No.14508
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